                           Case:17-01584-swd                   Doc #:31 Filed: 02/05/18          Page 1 of 1
Form ODSM (09/09)
                                                    United States Bankruptcy Court
                                                     Western District of Michigan
                                                         One Division Ave., N.
                                                               Room 200
                                                        Grand Rapids, MI 49503


 IN RE: Debtors (names used by the debtors in the last 8
 years, including married, maiden, trade, and address):
                                                                                    Case Number 17−01584−swd
            Samuel Saul Duncan
            1845 Namoke Court                                                       Chapter 13
            Apt. 2
            Haslett, MI 48840                                                       Honorable Scott W. Dales
            SSN: xxx−xx−3136
            Veronica Cristina Garza
            1845 Namoke Court
            Apt. 2
            Haslett, MI 48840
            SSN: xxx−xx−0611
                                                                 Debtors



                                        NOTICE OF ORDER DISMISSING CASE

Notice is given that on February 5, 2018 this Court signed an order dismissing the above noted case. You
are advised that all further stay of proceedings are hereby terminated as of the date of entry of this order. If
this was a Chapter 13 case, all orders which have been entered, if any, requiring the employer of the
debtor to submit monies to the Chapter 13 trustee are hereby terminated as of the date of the dismissal
order.

You are advised that there are certain legal effects to dismissal of a case that may affect the rights of the
debtor and the parties to this case. Do not contact the Bankruptcy Court regarding the legal effect of a
dismissal. You should consult with your attorney or contact the attorney for the debtor, if one was
employed, whose name appears at the bottom of this notice.




Dated: February 6, 2018



Attorney for Debtor                              Scott Marshall Neuman
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                                                 Okemos, MI 48864
                                                 (517) 349−2700
2 Aliases for Joint Debtor Veronica Cristina Garza : aka Veronica Cristina Duncan
